                                                             IT IS ORDERED

                                                             Date Entered on Docket: February 7, 2022




                                                             ________________________________
                                                             The Honorable David T. Thuma
                                                             United States Bankruptcy Judge
______________________________________________________________________




                              UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF NEW MEXICO

  In re:
                                                         Chapter 11
  Roman Catholic Church of the Archdiocese
                                                         Bankruptcy Case No. 18-13027-t11
  of Santa Fe, a New Mexico corporation sole,

                     Debtor-in-Possession.

                                          STIPULATED ORDER

           The Official Committee of Unsecured Creditors of the Roman Catholic Church of the

  Archdiocese of Santa Fe (“UCC”) and the United States Trustee, through their undersigned

  counsel, have stipulated and the Court HEREBY ORDERS:

           1.        That the fees and costs in the Second Interim Application for Allowance and

  Payment of Professional Compensation and Reimbursement of Expenses by Pachulski Stang

  Ziehl & Jones LLP for the Period from October 1, 2019 through October 31, 2021, docket 916,

  filed January 5, 2022 (“fee application”) are to be adjusted by reducing the fees by $10,045 and

  the costs by $1,847.61 for a total of $11,892.61 in reduced fees and costs;

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        2.         The requested fees in the amount of $1,845,843.00 and expenses in the amount of

$39,353.58 incurred during the period October 1, 2019 through October 31, 2021 for a total

amount of $1,885,196.58, and $1,384,382.25 in fees (comprising 75% of the allowed amount)

and $39,353.58 in expenses (comprising 100% of the allowed amount) less amounts paid for the

Compensation Period ($1,072,379.81) on an interim basis for a total additional interim payment

of $351,356.02 shall now be $1,384,382.25 less $10,045 for a total of $1,374,337.25 in fees; and,

$39,353.58 less $1,847.61 for a total of $37,505.97.

        3.         The Court grants the fee application on an interim basis for an interim payment of

$339,463.41.

                                       *** END OF ORDER ***

APPROVED AND SUBMITTED BY:

PACHULSKI STANG ZIEHL & JONES LLP

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APPROVED BY AND AS TO FORM:
MARY JOHNSON

United States Trustee
District of New Mexico
By: /s/approved by email 2/4/2022
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